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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                            Crim. No. 18-CR-32-2 (DLF)
               v.
                                            FILED EX PARTE, UNDER SEAL
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.



           GOVERNMENT’S MOTION FOR LEAVE TO FILE UNDER SEAL

       The United States of America, by and through undersigned counsel, respectfully move for

leave of the Court to file two exhibits attached to its Response to Defendant Concord Management

and Consulting’s Motion to Disclose Ex Parte Communications Regarding the Government’s

Intention to Seek a Superseding Indictment [Dkt. No. 231] under seal. These two exhibits consist

of proposed redactions to a transcript and a pleading that are both currently under seal. Should the

Court decide to unseal the transcript and pleading discussed in their entirety, the government

acknowledges that this motion would be moot.



                                      Respectfully submitted,


JOHN C. DEMERS                                               JESSIE K. LIU
Assistant Attorney General for National Security             United States Attorney

By: /s/                                                      By: /s/
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